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              IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF GEORGIA
                       WAYCROSS DIVISION

UNITED STATES OF AMERICA, )
                          )              Case No. 5:21-CR-09-20
v.                        )
                          )
BRETT DONOVAN BUSSEY,     )
                          )
Defendant.                )

  REPLY TO RESPONSE TO MOTION TO DISMISS THE MAIL
     FRAUD CONSPIRACY COUNT (COUNT 1), and THE
 SUBSTANTIVE MAIL FRAUD COUNTS (COUNTS 4 TROUGH 7)

     Brett Bussey, one of the Defendants herein, by and through the

undersigned counsel, files this, his reply to the government response to his

motion to dismiss the mail fraud conspiracy count, (count 1), and the

substantive mail fraud count (counts 4 – 7) of the Indictment and

respectfully shows the following:

  I. Mr. Bussey’s Motion.

     In his Motion to Dismiss the conspiracy to commit mail fraud in

violation of 18 U.S.C. § 1349 (count 1), and the substantive mail fraud

counts, Mr. Bussey recounted the indictment’s allegations in detail. Doc #

631, p. 2-3. Mr. Bussey then recited the familiar standards dealing with

sufficiency of indictment allegations. Id. at p. 4 – 7. Mr. Bussey then




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focused his argument on the constitutional insufficiency of the indictment

as to those counts. Id. at p. 8 - 11.

   II. The Government Response.

      The government response fails to address the factually deficient

allegations in the indictment regarding Mr. Bussey. In fact, the response

only mentions Mr. Bussey when setting forth the counts of the indictment

in which he is a defendant. Doc # 889, p. 1, 2, and 7. And, the government

spends a single conclusory paragraph asserting that the defendants’

constitutional arguments fail. Doc # 889, p. 12, citing Hamling, 418 U.S.C.

87 (1974).

   III. The Allegedly Fraudulent Representations are Essential
        Facts that the Indictment Must Identify.

   Two separate provisions of the Constitution must be considered in any

inquiry into the facial validity of an indictment. First, the Sixth

Amendment’s “apprisal” requirement mandates that “[i]n all criminal

prosecutions, the accused shall enjoy the right to . . . be informed of the

nature and cause of the accusation.” U.S. Const., Amend. VI. Second, the

Fifth Amendment’s Indictment Clause provides that “[n]o person shall be

held to answer for a capital, or otherwise infamous crime, unless on a

presentment or indictment of a Grand jury.” See U.S. Const., amend. V.



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     Count one alleges a conspiracy to commit mail fraud in violation of 18

U.S.C. § 1349. Doc # 3, p. 13 – 31. The government alleges that the scheme

to defraud was executed by means of materially false and fraudulent

pretenses, representations and promises with the object to make money in

part by mailing fraudulent petitions. Id. ¶¶ 39-40. Counts 4 through 7 allege

substantive mail fraud counts alleging that it was part of the scheme to

defraud to complete I-129 petitions with false and fraudulent information

for nonimmigrant H-2A visas, obtain fraudulent signatures and fake

documents for purported employers, and without authority and with intent

to defraud and mail the false and fraudulent petitions to the government.

Id. p. 32-33, ¶ 66. The government’s indictment is replete with the

allegation of false and fraudulent representations, and documents.

     As outlined in his moving papers, Mr. Bussey demonstrated that

indictments charging mail or wire fraud must specify facts not merely in the

general words of the statute, but with such reasonable particularity as will

apprise the defendant, with reasonable certainty, of the nature of the

accusation. United States v. Bobo, 344 F.3d 1076, 1084 (11th Cir. 2003)

(reversing healthcare fraud conviction where “indictment ma[de] only a

broad allegation of fraud in a health care benefit program without the




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required specificity,” and noting that “[a]n indictment that requires

speculation on a fundamental part of the charge is insufficient”).

      The indictment here, while long in form, is short on factual substance,

so that Mr. Bussey is not apprised of what facts he must meet at trial.

      WHEREFORE, based on all of the reasons and authorities cited

above, and in Mr. Bussey’s Motion to Dismiss Count 1 and Counts 4

through 7, he respectfully requests that this be granted.

      This the 18th day of March, 2024.

                                    Withers Law Firm PC


                                    /s/Thomas A. Withers, Esq.
                                    Attorney Bar Number: 772250
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                         CERTIFICATE OF SERVICE

      The undersigned certifies that I have on this day served all the parties

in accordance with the notice of electronic filing (“NEF”) which was

generated as a result of electronic filing in this court.

      This 18th day of March, 2024.

                                     Withers Law Firm PC


                                     /s/Thomas A. Withers, Esq._
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